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  14
                       IN THE UNITED STATES DISTRICT COURT
  15
                         CENTRAL DISTRICT OF CALIFORNIA
  16

  17

  18   UNITED STATES OF AMERICA ex rel.               Case No. 2:15-cv-01212-JAK (ASx)
       THE DAN ABRAMS COMPANY LLC
  19                                                  PROTECTIVE ORDER
  20                  Relators,
       vs.
  21
       MEDTRONIC, INC., MEDTRONIC PLC,
  22   MEDTRONIC SOFAMOR DANEK
       DEGGENDORF GMBH, AND
  23   MEDTRONIC PUERTO RICO
       OPERATIONS CO., HUMACAO.
  24
                      Defendants.
  25

  26

  27

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   1

   2
       1.    PURPOSES AND LIMITATIONS
   3

   4         Discovery in this action is likely to involve production of confidential,

   5   proprietary, or private information for which special protection from public

   6   disclosure and from use for any purpose other than prosecuting this litigation may

   7   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to

   8   enter the following Stipulated Protective Order. The parties acknowledge that this

   9   Order does not confer blanket protections on all disclosures or responses to

  10   discovery and that the protection it affords from public disclosure and use extends

  11   only to the limited information or items that are entitled to confidential treatment

  12   under the applicable legal principles. The parties further acknowledge, as set forth

  13   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to

  14   file confidential information under seal; Civil Local Rule 79-5 sets forth the

  15   procedures that must be followed and the standards that will be applied when a

  16   party seeks permission from the court to file material under seal.

  17
             A.     GOOD CAUSE STATEMENT
  18

  19         This action is likely to involve health records, trade secrets, customer and

  20   pricing lists and other valuable research, development, commercial, financial,

  21   technical and/or proprietary information for which special protection from public

  22   disclosure and from use for any purpose other than prosecution of this action is

  23   warranted. Such confidential and proprietary materials and information consist of,

  24   among other things, health records, confidential business or financial information,

  25   information regarding confidential business practices, or other confidential

  26   research, development, or commercial information (including information

  27   implicating privacy rights of third parties), information otherwise generally

  28   unavailable to the public, or which may be privileged or otherwise protected from
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   1   disclosure under state or federal statutes, court rules, case decisions, or common
   2   law. Accordingly, to expedite the flow of information, to facilitate the prompt
   3   resolution of disputes over confidentiality of discovery materials, to adequately
   4   protect information the parties are entitled to keep confidential, to ensure that the
   5   parties are permitted reasonable necessary uses of such material in preparation for
   6   and in the conduct of trial, to address their handling at the end of the litigation, and
   7   serve the ends of justice, a protective order for such information is justified in this
   8   matter. It is the intent of the parties that information will not be designated as
   9   confidential for tactical reasons and that nothing be so designated without a good
  10   faith belief that it has been maintained in a confidential, non-public manner, and
  11   there is good cause why it should not be part of the public record of this case.
  12
       2.     DEFINITIONS
  13

  14          2.1.   Action: this pending federal law suit.
  15          2.2.   Challenging Party: a Party or Non-Party that challenges the
  16   designation of information or items under this Order.
  17          2.3.   “CONFIDENTIAL” Information or Items: information (regardless of
  18   how it is generated, stored or maintained) or tangible things that qualify for
  19   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  20   the Good Cause Statement.
  21          2.4.   Counsel: Outside Counsel of Record and House Counsel (as well as
  22   their support staff).
  23          2.5.   Designating Party: a Party or Non-Party that designates information or
  24   items that it produces in disclosures or in responses to discovery as
  25   “CONFIDENTIAL.”
  26          2.6.   Disclosure or Discovery Material: all items or information, regardless
  27   of the medium or manner in which it is generated, stored, or maintained (including,
  28
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   1   among other things, testimony, transcripts, and tangible things), that are produced
   2   or generated in disclosures or responses to discovery in this matter.
   3         2.7.   Expert: a person with specialized knowledge or experience in a matter
   4   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   5   an expert witness or as a consultant in this Action.
   6         2.8.   House Counsel: attorneys who are employees of a party to this Action.
   7   House Counsel does not include Outside Counsel of Record or any other outside
   8   counsel.
   9         2.9.   Non-Party: any natural person, partnership, corporation, association, or
  10   other legal entity not named as a Party to this action.
  11         2.10. Outside Counsel of Record: attorneys who are not employees of a
  12   party to this Action but are retained to represent or advise a party to this Action and
  13   have appeared in this Action on behalf of that party or are affiliated with a law firm
  14   which has appeared on behalf of that party, and includes support staff.
  15         2.11. Party: any party to this Action, including all of its officers, directors,
  16   employees, consultants, retained experts, and Outside Counsel of Record (and their
  17   support staffs).
  18         2.12. Producing Party: a Party or Non-Party that produces Disclosure or
  19   Discovery Material in this Action.
  20         2.13. Professional Vendors: persons or entities that provide litigation
  21   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
  22   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  23   and their employees and subcontractors.
  24         2.14. Protected Material: any Disclosure or Discovery Material that is
  25   designated as “CONFIDENTIAL.”
  26         2.15. Receiving Party: a Party that receives Disclosure or Discovery
  27   Material from a Producing Party.
  28
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   1   3.    SCOPE
   2
             The protections conferred by this Stipulation and Order cover not only
   3
       Protected Material (as defined above), but also (1) any information copied or
   4
       extracted from Protected Material; (2) all copies, excerpts, summaries, or
   5
       compilations of Protected Material; and (3) any testimony, conversations, or
   6
       presentations by Parties or their Counsel that might reveal Protected Material.
   7
             Any use of Protected Material at trial shall be governed by the orders of the
   8
       trial judge. This Order does not govern the use of Protected Material at trial.
   9

  10   4.    DURATION
  11
              Even after final disposition of this litigation, the confidentiality obligations
  12
       imposed by this Order shall remain in effect until a Designating Party agrees
  13
       otherwise in writing or a court order otherwise directs. Final disposition shall be
  14
       deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  15
       with or without prejudice; and (2) final judgment herein after the completion and
  16
       exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  17
       including the time limits for filing any motions or applications for extension of time
  18
       pursuant to applicable law.
  19

  20   5.    DESIGNATING PROTECTED MATERIAL

  21
             5.1.   Exercise of Restraint and Care in Designating Material for Protection.
  22
       Each Party or Non-Party that designates information or items for protection under
  23
       this Order must take care to limit any such designation to specific material that
  24
       qualifies under the appropriate standards. The Designating Party must designate for
  25
       protection only those parts of material, documents, items, or oral or written
  26
       communications that qualify so that other portions of the material, documents,
  27

  28
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   1   items, or communications for which protection is not warranted are not swept
   2   unjustifiably within the ambit of this Order.
   3
             Mass, indiscriminate, or routinized designations are prohibited. Designations
   4
       that are shown to be clearly unjustified or that have been made for an improper
   5
       purpose (e.g., to unnecessarily encumber the case development process or to
   6
       impose unnecessary expenses and burdens on other parties) may expose the
   7
       Designating Party to sanctions.
   8
             If it comes to a Designating Party’s attention that information or items that it
   9
       designated for protection do not qualify for protection, that Designating Party must
  10
       promptly notify all other Parties that it is withdrawing the inapplicable designation.
  11

  12         5.2.   Manner and Timing of Designations. Except as otherwise provided in
  13   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  14   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  15   under this Order must be clearly so designated before the material is disclosed or
  16   produced.
  17
             Designation in conformity with this Order requires:
  18

  19         (a)    for information in documentary form (e.g., paper or electronic
  20   documents, but excluding transcripts of depositions or other pretrial or trial

  21   proceedings), that the Producing Party affix at a minimum, the legend

  22   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

  23   contains protected material. If only a portion or portions of the material on a page

  24   qualifies for protection, the Producing Party also must clearly identify the protected

  25   portion(s) (e.g., by making appropriate markings in the margins).

  26
             A Party or Non-Party that makes original documents available for inspection
  27
       need not designate them for protection until after the inspecting Party has indicated
  28
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   1   which documents it would like copied and produced. During the inspection and
   2   before the designation, all of the material made available for inspection shall be
   3   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
   4   documents it wants copied and produced, the Producing Party must determine
   5   which documents, or portions thereof, qualify for protection under this Order. Then,
   6   before producing the specified documents, the Producing Party must affix the
   7   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
   8   portion or portions of the material on a page qualifies for protection, the Producing
   9   Party also must clearly identify the protected portion(s) (e.g., by making
  10   appropriate markings in the margins).
  11
             (b)    for testimony given in depositions that the Designating Party identify
  12
       the Disclosure or Discovery Material on the record, before the close of the
  13
       deposition all protected testimony.
  14
             (c)    for information produced in some form other than documentary and
  15
       for any other tangible items, that the Producing Party affix in a prominent place on
  16
       the exterior of the container or containers in which the information is stored the
  17
       legend “CONFIDENTIAL.” If only a portion or portions of the information
  18
       warrants protection, the Producing Party, to the extent practicable, shall identify the
  19
       protected portion(s).
  20

  21         5.3.   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  22   failure to designate qualified information or items does not, standing alone, waive
  23   the Designating Party’s right to secure protection under this Order for such
  24   material. Upon timely correction of a designation, the Receiving Party must make
  25   reasonable efforts to assure that the material is treated in accordance with the
  26   provisions of this Order.
  27

  28
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   1   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
   2
             6.1.   Timing of Challenges. Any Party or Non-Party may challenge a
   3
       designation of confidentiality at any time that is consistent with the Court’s
   4
       Scheduling Order.
   5
             6.2.   Meet and Confer. The Challenging Party shall initiate the informal
   6
       dispute resolution process set forth in the Court’s Procedures and Schedules. See
   7
       http://www.cacd.uscourts.gov/honorable-alka-sagar
   8
             6.3.   The burden of persuasion in any such challenge proceeding shall be on
   9
       the Designating Party. Frivolous challenges, and those made for an improper
  10
       purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  11
       parties) may expose the Challenging Party to sanctions. Unless the Designating
  12
       Party has waived or withdrawn the confidentiality designation, all parties shall
  13
       continue to afford the material in question the level of protection to which it is
  14
       entitled under the Producing Party’s designation until the Court rules on the
  15
       challenge.
  16

  17   7.    ACCESS TO AND USE OF PROTECT MATERIAL
  18
             7.1.   Basic Principles. A Receiving Party may use Protected Material that is
  19
       disclosed or produced by another Party or by a Non-Party in connection with this
  20
       Action only for prosecuting, defending, or attempting to settle this Action. Such
  21
       Protected Material may be disclosed only to the categories of persons and under the
  22
       conditions described in this Order. When the Action has been terminated, a
  23
       Receiving Party must comply with the provisions of section 13 below (FINAL
  24
       DISPOSITION).
  25

  26         Protected Material must be stored and maintained by a Receiving Party at a

  27   location and in a secure manner that ensures that access is limited to the persons

  28   authorized under this Order.
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   1         7.2.   Disclosure of “CONFIDENTIAL” Information or Items. Unless
   2   otherwise ordered by the court or permitted in writing by the Designating Party, a
   3   Receiving    Party    may    disclose     any     information   or   item   designated
   4   “CONFIDENTIAL” only to:
   5
             (a)    the Receiving Party’s Outside Counsel of Record in this Action, as
   6
       well as employees of said Outside Counsel of Record to whom it is reasonably
   7
       necessary to disclose the information for this Action;
   8
             (b)    the officers, directors, and employees (including House Counsel) of
   9
       the Receiving Party to whom disclosure is reasonably necessary for this Action;
  10
             (c)    Experts (as defined in this Order) of the Receiving Party to whom
  11
       disclosure is reasonably necessary for this Action and who have signed the
  12
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  13
             (d)    the court and its personnel;
  14
             (e)    court reporters and their staff;
  15
             (f)    professional jury or trial consultants, mock jurors, and Professional
  16
       Vendors to whom disclosure is reasonably necessary for this Action and who have
  17
       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  18
             (g)    the author or recipient of a document containing the information or a
  19
       custodian or other person who otherwise possessed or knew the information;
  20
             (h)    during their depositions, witnesses, and attorneys for witnesses, in the
  21
       Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  22
       requests that the witness sign the form attached as Exhibit A hereto; and (2) they
  23
       will not be permitted to keep any confidential information unless they sign the
  24
       “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  25
       agreed by the Designating Party or ordered by the court. Pages of transcribed
  26
       deposition testimony or exhibits to depositions that reveal Protected Material may
  27

  28
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    1   be separately bound by the court reporter and may not be disclosed to anyone
    2   except as permitted under this Stipulated Protective Order; and
    3         (i)    any mediator or settlement officer, and their supporting personnel,
    4   mutually agreed upon by any of the parties engaged in settlement discussions.
    5
        8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
    6
              IN OTHER LITIGATION
    7

    8         If a Party is served with a subpoena or a court order issued in other litigation
    9   that compels disclosure of any information or items designated in this Action as
   10   “CONFIDENTIAL,” that Party must:
   11
              (a)    promptly notify in writing the Designating Party. Such notification
   12
        shall include a copy of the subpoena or court order;
   13
              (b)    promptly notify in writing the party who caused the subpoena or order
   14
        to issue in the other litigation that some or all of the material covered by the
   15
        subpoena or order is subject to this Protective Order. Such notification shall include
   16
        a copy of this Stipulated Protective Order; and
   17
              (c)    cooperate with respect to all reasonable procedures sought to be
   18
        pursued by the Designating Party whose Protected Material may be affected.
   19

   20   If the Designating Party timely seeks a protective order, the Party served with the

   21   subpoena or court order shall not produce any information designated in this action

   22   as “CONFIDENTIAL” before a determination by the court from which the

   23   subpoena or order issued, unless the Party has obtained the Designating Party’s

   24   permission. The Designating Party shall bear the burden and expense of seeking

   25   protection in that court of its confidential material and nothing in these provisions

   26   should be construed as authorizing or encouraging a Receiving Party in this Action

   27   to disobey a lawful directive from another court.

   28
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    1   9.    A     NON-PARTY’S       PROTECTED           MATERIAL     SOUGHT       TO   BE
    2         PRODUCED IN THIS LITIGATION
    3
              (a)    The terms of this Order are applicable to information produced by a
    4
        Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
    5
        produced by Non-Parties in connection with this litigation is protected by the
    6
        remedies and relief provided by this Order. Nothing in these provisions should be
    7
        construed as prohibiting a Non-Party from seeking additional protections.
    8
              (b)    In the event that a Party is required, by a valid discovery request, to
    9
        produce a Non-Party’s confidential information in its possession, and the Party is
   10
        subject to an agreement with the Non-Party not to produce the Non-Party’s
   11
        confidential information, then the Party shall:
   12

   13                (1)   promptly notify in writing the Requesting Party and the Non-
   14   Party that some or all of the information requested is subject to a confidentiality
   15   agreement with a Non-Party;
   16                (2)   promptly provide the Non-Party with a copy of the Stipulated
   17   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   18   specific description of the information requested; and
   19                (3)   make the information requested available for inspection by the
   20   Non-Party, if requested.
   21
              (c)    If the Non-Party fails to seek a protective order from this court within
   22
        14 days of receiving the notice and accompanying information, the Receiving Party
   23
        may produce the Non-Party’s confidential information responsive to the discovery
   24
        request. If the Non-Party timely seeks a protective order, the Receiving Party shall
   25
        not produce any information in its possession or control that is subject to the
   26
        confidentiality agreement with the Non-Party before a determination by the court.
   27

   28
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    1   Absent a court order to the contrary, the Non-Party shall bear the burden and
    2   expense of seeking protection in this court of its Protected Material.
    3
        10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    4

    5         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
    6   Protected Material to any person or in any circumstance not authorized under this
    7   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
    8   writing the Designating Party of the unauthorized disclosures, (b) use its best
    9   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
   10   person or persons to whom unauthorized disclosures were made of all the terms of
   11   this Order, and (d) request such person or persons to execute the “Acknowledgment
   12   and Agreement to Be Bound” that is attached hereto as Exhibit A.
   13
        11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   14
              PROTECTED MATERIAL
   15

   16         In the event that either party inadvertently produces documents or

   17   information subject to a claim of privilege or other protection, those materials may

   18   be “clawed back” pursuant to Rule 26(b)(5)(B) and subject to Federal Rule of

   19   Evidence 502.

   20
        12.   MISCELLANEOUS
   21

   22         12.1. Right to Further Relief. Nothing in this Order abridges the right of any

   23   person to seek its modification by the Court in the future.

   24         12.2. Right to Assert Other Objections. By stipulating to the entry of this

   25   Protective Order no Party waives any right it otherwise would have to object to

   26   disclosing or producing any information or item on any ground not addressed in

   27   this Stipulated Protective Order. Similarly, no Party waives any right to object on

   28
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    1   any ground to use in evidence of any of the material covered by this Protective
    2   Order.
    3         12.3. Filing Protected Material. A Party that seeks to file under seal any
    4   Protected Material must comply with Civil Local Rule 79-5. Protected Material
    5   may only be filed under seal pursuant to a court order authorizing the sealing of the
    6   specific Protected Material at issue. If a Party’s request to file Protected Material
    7   under seal is denied by the court, then the Receiving Party may file the information
    8   in the public record unless otherwise instructed by the court.
    9         12.4. The Producing Party may redact the following types of material from
   10   any documents or information it produces, regardless of whether the document
   11   itself is designated or deemed to be “Confidential”: (i) Patient or research subject
   12   identities, including phone numbers, addresses and other identifying information;
   13   and (ii) information that would be subject to protection pursuant to 21 CFR
   14   20.63(f).
   15
        13.   FINAL DISPOSITION
   16

   17         After the final disposition of this Action, as defined in paragraph 4, within 60
   18   days of a written request by the Designating Party, each Receiving Party must
   19   return all Protected Material to the Producing Party or destroy such material. As
   20   used in this subdivision, “all Protected Material” includes all copies, abstracts,
   21   compilations, summaries, and any other format reproducing or capturing any of the
   22   Protected Material. Whether the Protected Material is returned or destroyed, the
   23   Receiving Party must submit a written certification to the Producing Party (and, if
   24   not the same person or entity, to the Designating Party) by the 60 day deadline that
   25   (1) identifies (by category, where appropriate) all the Protected Material that was
   26   returned or destroyed and (2) affirms that the Receiving Party has not retained any
   27   copies, abstracts, compilations, summaries or any other format reproducing or
   28   capturing any of the Protected Material. Notwithstanding this provision, Counsel
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    1   are entitled to retain an archival copy of all pleadings, motion papers, trial,
    2   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
    3   and trial exhibits, expert reports, attorney work product, and consultant and expert
    4   work product, even if such materials contain Protected Material. Any such archival
    5   copies that contain or constitute Protected Material remain subject to this Protective
    6   Order as set forth in Section 4 (DURATION).
    7         14.    Any violation of this Order may be punished by any and all
    8   appropriate measures including, without limitation, contempt proceedings and/or
    9   monetary sanctions.

   10   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   11
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   26

   27

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        Warsaw Orthopedic, Inc., and Medtronic Puerto Rico Operations Co., Humacao
   20

   21

   22   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   23
        DATED: November 3, 2021
   24

   25          / s / Sagar
        Honorable Alka Sagar
   26   United States Magistrate Judge
   27

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                                         PROPOSED PROTECTIVE ORDER
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    1
                               EXHIBIT A
    2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3
        I, _________________ [print or type full name], of ____________________ [print
    4   or type full address], declare under penalty of perjury that I have read in its entirety
    5   and understand the Stipulated Protective Order that was issued by the United States
    6   District Court for the Central District of California on _______ [date] in the case of
    7   THE UNITED STATES OF AMERICA ex rel. THE DAN ABRAMS COMPANY
    8   LLC vs. MEDTRONIC, INC., MEDTRONIC PLC, MEDTRONIC SOFAMOR
    9   DANEK DEGGENDORF GMBH, AND MEDTRONIC PUERTO RICO
   10   OPERATIONS CO., HUMACAO - 2:15-cv-01212-JAK (ASx). I agree to comply
   11   with and to be bound by all the terms of this Stipulated Protective Order and I
   12   understand and acknowledge that failure to so comply could expose me to sanctions

   13   and punishment in the nature of contempt. I solemnly promise that I will not
        disclose in any manner any information or item that is subject to this Stipulated
   14
        Protective Order to any person or entity except in strict compliance with the
   15
        provisions of this Order. I further agree to submit to the jurisdiction of the United
   16
        States District Court for the Central District of California for the purpose of
   17
        enforcing the terms of this Stipulated Protective Order, even if such enforcement
   18
        proceedings     occur   after   termination      of   this     action.     I    hereby   appoint
   19
        _______________________             [print       or          type        full     name]       of
   20
        ________________________ [print or type full address and telephone number] as
   21
        my California agent for service of process in connection with this action or any
   22   proceedings related to enforcement of this Stipulated Protective Order.
   23   Date:
   24   City and State where sworn and signed:
   25   Printed name:
   26   Signature:
   27

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                                         PROPOSED PROTECTIVE ORDER
